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 8                           IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                     )       CASE NO. CR-05-0375 SI
                                                    )
12                   Plaintiff,                     )       ORDER
                                                    )
13             vs.                                  )
                                                    )
14    PHAT VUONG,                                   )
                                                    )
15                   Defendant.                     )
                                                    )
16
17             GOOD CAUSE APPEARING IT IS HEREBY ORDERED that the property known as
18     2378 18th Street, San Pablo, CA 94806, owned by DUONG T. VUONG and VU TRAN, a wife
19    and husband, per the Stipulation be accepted in lieu of bail for surety in the continued appearance

20    of PHAT VUONG in the above entitled case pending against him in the United States District
21    Court for the Northern District of California until said bail is exonerated.
22
23
24    Dated:
                                                            Judge of the United States District Court
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